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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                CASE NO. 19-CR-20242-UNGARO

 UNITED STATES OF AMERICA,

            Plaintiff,
 vs.

 MEGHANA RAJADHYAKSHA,

          Defendant.
 ______________________________/


                                       NOTICE OF FILING

        COMES NOW the Defendant, MEGHANA RAJADHYAKSHA, by and through

 undersigned counsel, and respectfully submits the attached Composite Exhibit “A”- Character

 Letters for the Court’s consideration in advance of her sentencing on July 25, 2019.

                                               Respectfully submitted,

                                               MASE MEBANE & BRIGGS, P.A.
                                               Attorney for Defendant
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                                               Miami, Florida 33133
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                                     MASE MEBANE & BRIGGS
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on July 15, 2019, I electronically filed the foregoing document with

 the Clerk to the Court using CM/ECF upon all counsel of record.


                                                     By:    /s/ Christopher G. Lyons
                                                            CHRISTOPHER G. LYONS




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                                    MASE MEBANE & BRIGGS
